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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                  )
               Plaintiff,  )
                           )
     v.                    )                                        2:19-CV-1180
                                                  Civil Action No. __________
                           )
UNIVERSITY OF PITTSBURGH – )                      Complaint
OF THE COMMONWEALTH        )
SYSTEM OF HIGHER           )                      JURY TRIAL DEMANDED
EDUCATION                  )
           Defendant.


                                      COMPLAINT

        AND NOW COMES, Plaintiff John Doe1 (“Doe") by and through his undersigned

counsel, Kukoyi Law Firm, LLC and Lanre Kukoyi, Esquire, files this Complaint against

Defendant University of Pittsburgh for gender-based discrimination and breach of con-

tract, and in support avers as follows:

                                 Jurisdiction and Venue

       1. This action arises in part under Title IX of the Education Amendments of 1972,

          20 U.S.C. §§ 1681 et seq. (“Title IX”) and Due Process clause of the Four-

          teenth Amendment to the U.S. Constitution brought pursuant to 42 U.S.C. §

          1983.

       2. Jurisdiction over Plaintiff’s claims is conferred on the Court by 28 U.S.C.

          §§1331, 1343 and 1367.

       3. Venue in this District is proper under 28 U.S.C. §1391(b).




1   Plaintiff files herewith a motion to proceed pseudonymously
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                                 The Parties

4. Plaintiff incorporates the preceding paragraphs by reference as if fully rewritten

   herein.

5. Plaintiff John Doe is a natural person and is a resident of Allegheny County,

   Pennsylvania. At all relevant times, he was a student at the University of Pitts-

   burgh Medical School (“Medical School”).

6. Jane Roe (“Roe”) is a non-party student of the same medical school and the

   Complainant in the underlying Title IX disciplinary proceeding against John

   Doe.

7. John Doe seeks to use the pseudonyms “John Doe” and “Jane Roe” in this

   Complaint in order to preserve his privacy and the privacy of the student who

   raised the allegations against him, as the subject of this Complaint relates to in-

   timate and personal matters. A separate motion to support this request will be

   filed contemporaneously with this Complaint.

8. The public’s interest in knowing the identities of both Doe and Roe is out-

   weighed by privacy concerns. The use of pseudonyms would not prejudice the

   Defendant because it is aware of the identities of both Doe and Roe. Lastly, as

   this case involves matter of utmost personal intimacy and academic records

   protected from disclosure by the Family Educational Rights and Privacy Act

   (“FERPA”), 20 U.S.C. § 1232(g), disclosure of their identities would cause

   both Doe and Roe utmost irreparable harm.

9. Defendant is a state-related university within the Pennsylvania system of higher

   education. It has as its primary address 4200 Fifth Ave, Pittsburgh, PA 15260.



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                                          Facts

10. Plaintiff incorporates the preceding paragraphs by reference as if fully rewrit-

   ten herein.

   The relationship between Plaintiff and Jane Roe

11. Doe and Roe began having friendly interactions in the summer of 2016 when

   he attended a summer program at the medical school.

12. Things progressed to point where they began spending time together, including

   Roe picking up and dropping off Plaintiff.

13. During this period, while both parties kissed and engaged in consensual fore-

   play and fondling, there was no sexual intercourse.

14. By the end of the summer, Roe found out that Plaintiff was married but his

   wife had not moved with him to Pittsburgh when he went for the summer pro-

   gram at the medical school.

15. Plaintiff’s wife subsequently moved to Pittsburgh by the end of July 2016, and

   he cooled things off between him and Roe.

16. However, apparently unknown to Plaintiff, Roe thought of him as “her man”

   and resolved to do anything in her power to win his affections back.

17. In early August 2016, Roe was on her way to drop Plaintiff off at his apartment

   when she told him that had to stop at her apartment first to check on the state of

   her apartment since her roommate was not around.

18. When they got into the apartment, Roe stripped down to her underwear and

   eventually, both she and Plaintiff began consensual foreplay. At some point,




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   she took off her underwear and was fully naked, while Plaintiff was still wear-

   ing his pants.

19. Roe then attempted to perform oral sex on Plaintiff, but after initially acquiesc-

   ing for some seconds, Plaintiff asked her to stop because he felt she was only

   doing so to make him change his mind about not wanting a relationship with

   her.

20. Roe stopped as requested, but after a few minutes of conversation she climbed

   on top of him where he was laying (he was on her bed as there was no chair in

   the room) and began to grind herself on him.

21. Plaintiff asked repeatedly asked her to stop, that sexual intercourse between

   them would not change his mind regarding a relationship with her.

22. While pleading with her to stop and get off him, he moved because of sudden

   pain she caused when she accidentally put pressure on his testicles.

23. In a coquettish manner, Roe said that she noticed that he was now interested in

   having sex with her.

24. At this juncture, Plaintiff, deciding things had gone far enough, he got up and

   scolded her that hat he had repeatedly told her he did not want a relationship,

   and sex would not make him change his mind.

25. Roe then told him not to tell anyone what transpired and he responded that he

   does not kiss and tell.

26. Plaintiff got dressed and after realizing that Roe was no longer going drop him

   off at his apartment, he left Roe’s apartment and walked home.




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27. That evening, he called Roe as they had previously made plans to have dinner

   with other classmates. Roe, however, did not answer.

28. Eventually, Plaintiff was able to talk with Roe, who told him that she called a

   friend because she was angry he had turned her down and her friend advised

   her to report to the Police that Plaintiff attempted to rape her, even though that

   was not what happened. Thereafter, Roe apologized to Plaintiff.

29. Subsequent to the apology, Plaintiff and Roe continued to hang out, study to-

   gether, and engage in consensual kissing and fondling.

30. About two weeks later, Roe went to Plaintiff’s apartment and this time around,

   they had consensual sexual intercourse.

31. However, unknown to both of them, Plaintiff’s wife returned and met them in a

   compromising situation.

32. Subsequent to that day, Roe accused Plaintiff of setting her up so that his wife

   would walk in on them in order to get back at her because she had claimed she

   told the police he attempted to rape her.

33. Plaintiff’s wife was able to identify Roe through Plaintiff’s Facebook account

   and got in contact with Roe, and subsequently, they had a few conversations

   via the app.

34. These conversations took place while Plaintiff’s wife was in Cincinnati, Ohio

   and she recorded one of them.

35. On the recording, Roe could be heard saying that whatever happened between

   her and Plaintiff that led to claims of her filing a police report was a misunder-

   standing.



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36. At no point during their conversations did Roe inform Plaintiff’s wife that she

   was sexually harassed or worse by Plaintiff.

   Title IX Complaint and the University Investigation

37. Almost two years later, July 10, 2018 to be exact, Plaintiff received a letter,

   dated the same day, from the University of Pittsburgh’s Office of Diversity and

   Inclusion (“ODI”), that the university’s Title IX Office, will be investigating

   allegation of sexual misconduct that was filed by Roe against Plaintiff. The

   university’s Title IX Office is a part of the ODI and the letter was authored by

   Ms. Kristy Rzepecki (“Rzepecki”). Rzepecki was the investigator of the allega-

   tions.

38. According to its letter, the investigation would occur through a neutral fact-

   finding process. However, this was not the case.

39. For example, during Plaintiff’s first meeting with Rzepecki on August 10,

   2018, she noticed his wedding ring and asked him if he was married. When he

   answered in the affirmative, her entire demeanor towards him changed from

   being warm and open, and she had an open expression of distaste. She then

   asked him about times that he did not wear the ring and when he asked her for

   the reason behind her question, she ignored him and moved on to a different

   topic.

40. Another example of the biased nature of the Title IX investigative process was

   the investigator’s approach to questioning Plaintiff’s witnesses. Plaintiff was

   asked to provide a list of witnesses and state why he listed the individual as a

   witness. At least one of the witnesses, Stephen Canton, told Plaintiff that, when



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   the Title IX investigator contacted him, the investigator did not ask him any

   question pertaining to why Plaintiff listed him as a witness.

41. Additionally, the final report of the investigator did not include statements

   from Plaintiff’s wife regarding the consensual nature of what she witnessed on

   the day she walked in on Plaintiff and Roe. When Plaintiff brought this matter

   up after he reviewed the final report, the investigator told him that his wife is

   not a credible witness because she recorded Roe. (As part of his defense to the

   allegations, Plaintiff provided the investigator with an audio file of a Facebook

   messenger conversation between his wife and Roe where Roe essentially indi-

   cated that she was the instigator of the sexual encounter between her and Plain-

   tiff).

42. The above-referenced audio file was not accepted by the investigator because it

   was “inadmissible”, although in Chapter 5, paragraph D, page 18 of its Student

   Code of Conduct, Defendant stated that “…legal rules regarding admissibility

   of evidence will not be formally applied.”

43. Also, the University Chancellor, in his comment on the proposed Department

   of Education (“Department”) rulemaking on Title IX that the department is-

   sued on November 29, 2018, indicated that the University does not make evi-

   dentiary rulings.

44. Plaintiff’s wife made the recording while in Cincinnati, OH. Ohio is a one-

   party consent state for purposes of recordings; therefore the recording was ac-

   tually admissible.




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45. The issue of admissibility notwithstanding, Rzepecki should have listened to

   the audio and included the entire testimony from Plaintiff’s wife in her final

   report. Her failure to do so is another example of how biased the investigation

   was against Plaintiff.

46. Another example that the investigator was not as neutral as promised was the

   fact that when Plaintiff reviewed the investigator’s report prior to its submis-

   sion, Plaintiff saw clear evidence of implicit bias. The investigator repeatedly

   recorded Complainant’s testimony as fact (such as “this happened or that hap-

   pened”) but recorded Plaintiff’s testimony in the third party (such as “Re-

   spondent alleges or Respondent states”). The impact this would have on any

   subsequent reviewer of the report cannot be overemphasized.

47. A further example of the non-neutral nature of the investigation occurred when

   the Title IX investigator interviewed Plaintiff’s wife, Plaintiff’s wife states that

   the focus of the interview questions was on whether there was domestic vio-

   lence in her marriage with Plaintiff.

48. Additionally, Plaintiff read in Rzepecki’s report that his wife told Rzepecki

   that she (his wife) believed Roe because Roe had no reason to lie. Plaintiff’s

   wife vehemently refutes this. In fact, what she told Rzepecki was that because

   of the familiarity she had with Plaintiff, her husband, she can tell when he is

   being untruthful in his stories and he was not being untruthful with her regard-

   ing the nature of what took place between himself and Roe.




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49. It appeared that Rzepecki was selective in the testimony she included in her re-

   port. In fact she stated to Plaintiff that “it is her prerogative as to what details

   or information is relevant to the case.

50. Plaintiff never got an opportunity to review the evidence against him with an

   attorney, as he was not permitted to take any of the documents, make a record-

   ing or take notes when he was reviewing the documents by himself.



   Bias

51. Prior to the Title IX investigation into Plaintiff, Defendant had experienced

   some negative coverage by its university-affiliated newspapers regarding its

   handling of Title IX complaints. For example, on November 13, 2017, in The

   Pitt News, a publication accessible to all of Defendant’s students, there was a

   report that a female student at the School of Law at the University filed a law-

   suit alleging that the University mishandled her Title IX complaint.

52. In the lawsuit, Rzepecki was alleged to have been extremely biased and unpro-

   fessional.

53. The lawsuit was filed in on October 25, 2017, well before the initiation of the

   Title IX investigation against Plaintiff.

54. Plaintiff had also raised some concerns of treatment at his school. For example,

   on September 2017, Plaintiff complained to the senior vice chancellor for the

   Health Sciences. School of Medicine regarding what he perceived racial bias in

   grading and preparation of minorities for the medical board exams.




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 55. On October 19, 2017, he raised the same concerns with another faculty mem-

    ber during the Step 1 planning meeting.

 56. On March 1, 2019, Plaintiff once again raised concerns over his grades, this

    time in surgery clerkship. This concern was addressed by the medical school’s

    associate dean of student affairs and the grade was corrected on April 8, 2019.

 57. Plaintiff filed another grievance regarding his grade on April 26, 2019, in his

    pediatric clerkship. This grievance was unresolved when Plaintiff was sus-

    pended.

 58. On April 30, 2019, at or about 2:23pm, Plaintiff received an email from the

    Associate Dean of Student Affairs asking him to attend a meeting with her and

    the Assistant Dean of Student Affairs that evening. However, when he arrived

    at the medical school shortly after 5pm, the University Police was called and

    they escorted him off the campus, although he told them about the meeting he

    was asked to attend. He even asked the police officers to permit him to walk

    out alone, but his request was denied and he was escorted out. Some of his

    classmates were present in the building.

 59. It is noteworthy that both the Associate Dean and the Assistant Dean were

    Roe’s witnesses in the Title IX investigation, as they claimed to have been

    aware for a couple of years that Roe’s academic struggles were because of the

    August 2016 incident.

 60. Yet, the Assistant Dean twice sponsored Plaintiff to conferences to represent

    the school during the period he claimed to have had knowledge that Plaintiff

    sexually harassed Roe



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 61. Additionally, in August 2017, Plaintiff was asked by the School of Medicine to

    become a student tutor, where he would teach other students one-on-one. It is

    impossible to believe that either one of the two Deans was not part of the pro-

    cess or aware of the process by which he was selected to be a student tutor.

 62. Plaintiff would not have been selected for the conferences or to be a student tu-

    tor if it was true that, as the Deans allege, that they were aware of sexual mis-

    conduct on his part.

    The Department of Education guidelines on Title IX Investigations


 63. All public and private elementary and secondary schools, school districts,

    colleges, and universities receiving any federal financial assistance must

    comply with Title IX.

 64. Upon information and belief, the implemented standards, criteria, and policies

    employed and guiding the University were exercised under the auspices of,

    and pursuant to the U.S. Department of Education's Office for Civil Rights

    April 4, 2011 "Dear Colleague Letter" student-on-student sexual harassment

    and sexual violence (also hereafter referred to as "Dear Colleague Letter").

    (This Dear Colleague Letter is Available at http: /www.v2.ed.gov/print

    /about/offices/list/ ocilletters/colleague-20 1 104.html).

 65. The 2011 Dear Colleague Letter and the 2014 guidance required schools to

    adopt a minimal standard of proof when administering student discipline.

    The 2011 Letter discouraged cross-examination by the parties and suggested

    that to recognize a right to such cross examination might violate Title IX.

    Furthermore, the 2011 Letter limited any due process protections given to


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    accused students as it directed that no unnecessary delay should exist when

    resolving charges.

 66. On September 7, 2017, Betsy DeVos, the U.S. Secretary of Education, an-

    nounced that "Rule by [the 2011] Letter is over." In a public address she ex-

    pressed concerns raised by members of academia that the approach pushed by

    the U.S. Department of Education for the previous several years exerted im-

    proper pressure on universities to adopt Title 1X procedures that do not afford

    fundamental fairness to all students. Secretary DeVos advised that she thought

    the professors who raised these concerns were right and described the system as

    failed and one that imposed policy without even the most basic safeguards.


 67. In a September 22, 2017, Dear Colleague Letter, the U.S. Department of Educa-

    tion, Office of Civil Rights released a notice stating that while the 2011 and

    2014 guidance documents may have been well intentioned, they have led to the

    deprivation of rights for many students and they have denied fair process to ac-

    cused students. The Office of Civil Rights advised that the April 2011 Dear Col-

    league Letter's "improper pressure upon universities" resulted in universities de-

    veloping procedures for resolving sexual misconduct complaints that lacked the

    "most basic elements of fairness and due process, are overwhelmingly stacked

    against the accused. and are in no way required by Title IX law or regulation."

    See https://www 2.ed.gov/about/officesilistiocrilettersicolleague-title-ix-

    201709.pdf


 68. In September 2017 the Office of Civil Rights provided specific guidance for

    universities with respect to grievance procedures and investigations. It is this


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    guidance that should have served as the standard for the investigation of matters

    involving John Doe and the determination by the University.


 69. The Defendants were aware of the announcement by the Secretary of Education

    Betsy DeVos and the Department of Education's new guidance. Despite this, the

    Defendants failed to exercise their authority to modify their unconstitutional pol-

    icies or practices.


                                COUNT I
                          VIOLATION OF TITLE IX
 70. Plaintiff incorporates each of the preceding paragraphs as if set forth fully

    herein.

 71. Title IX, in relevant part, says that “No person in the United States shall on the

    basis of sex, be excluded from participating in, be denied the benefits of, or be

    subjected to discrimination under any education program or activity receiving

    federal financial assistance.”

 72. Because Defendant University receives federal financial assistance, it is sub-

    ject to Title IX.

 73. Title IX bars the imposition of university discipline where gender is a moti-

    vating factor in the decision to discipline.

 74. As stated in the preceding paragraphs, the Title IX investigation conducted

    was riddled with bias against Plaintiff.

 75. Due to the gender bias present in its Title IX investigation, Defendant Uni-

    versity reached an erroneous outcome in this matter.

 76. Defendant failed to conduct a thorough and impartial investigation of the alle-

    gations brought against Doe.
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      77. As a result of the actions taken by Defendant, Doe has been suspended for one

            year, severely jeopardizing his education and future goals.

      78. As a result of Defendant’s actions, Doe has sustained and continues to sustain

            damages to his education and his career opportunities, as he was erroneously

            adjudged to be responsible for an offense he did not commit.

      79. A finding of sexual misconduct placed in Doe’s academic records would se-

            verely hinder his goal to become a medical doctor.

      80. If Plaintiff is still able to become a medical doctor, he would have lost at least

            one year of salary as he is now at least a year behind the rest of his class.

      WHEREFORE, Plaintiff asks for a judgment for compensatory damages in an

amount to be determined at trial, plus costs reasonable attorney fees recoverable under

Title IX.

                           COUNT II
     VIOLATION OF THE FOURTEENTH AMENDEMENT, BROUGHT PUR-
                      SUANT TO 42 U.S.C. § 1983
      81. Plaintiff incorporates each of the preceding paragraphs as if set forth fully

            herein.

      82. Defendant University is a state related educational institution and has been

            found by the Courts of Pennsylvania to be a state actor.

      83. Pursuant to the fourteenth amendment, state actors cannot deprive a person of

            his life, liberty or property without due process of law.

      84. Plaintiff possesses a property interest as a student at the Medical School, as

            well as a liberty interest in his reputation.

      85. At all times relevant, the Title IX investigation was carried out by state actors

            or other actors acting under the color of the law.

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      86. As stated above, Defendant did not undertake a neutral and objective fact find-

          ing with regard to Plaintiff alleged misconduct under Title IX.

      87. Defendant’s conduct violated Plaintiff’s due process rights in the process.

      88. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered

          and continues to suffer damages, including but not limited to, severely ham-

          pered educational opportunity, loss of future income, humiliation and mental

          anguish.

      WHEREFORE, Plaintiff asks for a judgment for compensatory damages in an

amount to be determined at trial, plus costs and reasonable attorney fees pursuant to 42

U.S.C. § 1988 against Defendant.

                                    COUNT III
                                BREACH OF CONTRACT
      89. Plaintiff incorporates each of the preceding paragraphs as if set forth fully

          herein.

      90. A University handbook and student conduct manual has been viewed as a

          contract with a student that properly pays his tuition.

      91. Plaintiff properly paid his tuition during all relevant periods.

      92. Chapter 5, paragraph D, page 18 of Defendant’s Student Code of Conduct,

          states that “…legal rules regarding admissibility of evidence will not be for-

          mally applied.”

      93. Therefore, when Rzepecki refused to accept the audio recording, claiming it

          was “inadmissible”, it constituted a breach of contract with Plaintiff.

      94. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered

          and continues to suffer damages, including but not limited to, severely ham-


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          pered educational opportunity, loss of future income, humiliation and mental

          anguish.


      WHEREFORE, Plaintiff asks for a judgment for compensatory damages in an

amount to be determined at trial, plus costs and reasonable attorney fees pursuant to 42

U.S.C. § 1988 against Defendant.

                                   JURY TRIAL DEMAND

       Plaintiff hereby makes a demand for a trial by jury on all triable issues.




Date: September 12, 2019                      Respectfully submitted,

                                             /s/ Olanrewaju Kukoyi
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